Case 1:19-cv-24546-CMA Document 1 Entered on FLSD Docket 11/02/2019 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NUMBER: ______________________

 KATHERINE AGUILAR,

                Plaintiff,

 vs.

 AVENTURA CAFÉ CORP., a Florida Corporation,
 and ALEKSANDAR REDIC, individually,

             Defendants.
 ____________________________________________/

                              COLLECTIVE ACTION COMPLAINT

        COMES NOW Plaintiff, KATHERINE AGUILAR, on behalf of herself and all others

 similarly situated, by and through her undersigned counsel, and sues the Defendants,

 AVENTURA CAFÉ CORP., a Florida corporation, and ALEKSANDAR REDIC, individually,

 and alleges as follows:

        1.      That Plaintiff, former employee of Defendants, bring this collective action on

 behalf of herself and all other similarly situated employees of Defendant, to recover

 compensation and other relief under the Fair Labor Standards Act, as amended (the "FLSA"), 29

 U.S.C. § 201 et seq.

        2.      Jurisdiction is conferred on this Court by 29 U.S.C. § 216(b).

        3.      That the unlawful employment practices alleged below occurred and/or were

 committed within this judicial district.

        4.      That at all times material hereto, Plaintiff, and others similarly situated, were

 citizens and residents of this judicial district, sui juris and otherwise within the jurisdiction of

 this Court.
Case 1:19-cv-24546-CMA Document 1 Entered on FLSD Docket 11/02/2019 Page 2 of 4



        5.      That at all times material hereto, Defendant was the employer of the Plaintiff, and

 others similarly situated, was conducting business in this judicial district, was an ‘employer’

 under the FLSA, and an enterprise engage in commerce or in the production of interstate

 commerce as defined by the Act, 29 U.S.C § 203(r) and 203(s). Based upon the information and

 belief, the annual gross sales volume of the corporate Defendant was in excess of $500,000.00

 per annum at all times material hereto.

        6.      That at all times material hereto, Defendant, ALEKSANDAR REDIC,

 individually, acted directly in the interests of his employer, the corporate Defendant, in relation

 to the Plaintiff, and this individual Defendant exercised the requisite legal control and otherwise

 administered the illegal acts as described herein on behalf of the corporate Defendant and is

 otherwise an ‘employer’ under the FLSA.

        6.      That the Plaintiff, KATHERINE AGUILAR was hired as a non-exempt employee

 by the Defendant on July 15, 2019 until and including August 1, 2019.

        7.      That Plaintiff, and others similarly situated, were employees at the Defendants’

 restaurant, and were ‘tipped’ employees under the FLSA.

        8.      That, during Plaintiff’s employment and others similarly situated, Defendant

 claimed a ‘tip-credit’ for Plaintiff and others similarly situated, and paid these employees below

 the statutorily required minimum wage under the FLSA.

        9.      That, in order for Defendant to claim a ‘tip-credit’, the Plaintiff and others

 similarly situated must be informed of the provisions of the ‘tip-credit’, and all tips received by

 Plaintiff, and others similarly situated, must be absolutely retained by Plaintiff, or pooled with

 other ‘tipped’ employees.
Case 1:19-cv-24546-CMA Document 1 Entered on FLSD Docket 11/02/2019 Page 3 of 4



         10.     That Defendant failed to comply with the ‘tip-credit’ requirements pursuant to the

 FLSA by including, amongst others, floor supervisors and cashiers as ‘tipped’ employees that

 received a portion of the Plaintiff’s tips.

         11.     That Defendant’s failure to comply with the FLSA ‘tip-credit’ requirements

 results in Defendant’s inability to claim a ‘tip-credit’ for Plaintiff and others similarly situated.

         12.     That Defendant, unable to claim a ‘tip-credit’, is required to compensate Plaintiff

 and others similarly situated, with at least minimum wage.

         13.     That Defendant willfully refused to properly compensate Plaintiff, and others

 similarly situated, for minimum wage in violation of the FLSA, as the aforementioned ‘tip-

 credit’ was claimed despite the fact that Defendant had failed to comply with the ‘tip-credit’

 requirements under the FLSA.

         14.     All records concerning the number of hours actually worked by Plaintiff, and

 others similarly situated, are in the exclusive possession and sole custody and control of the

 Defendant, and therefore, Plaintiff is unable to state at this time the exact amount due.

         15.     Plaintiff, however, will exert her collective diligent efforts to obtain such

 information by appropriate discovery proceedings, to be taken promptly in this case, and if

 required, an amendment to this Complaint will be submitted to set forth an amount due by the

 Plaintiff and others similarly situated.

                                               COUNT I
                                                FLSA

         Plaintiff, and others similarly situated, incorporate by reference the allegations contained

 in paragraphs 1 through 15 of this Complaint.

         16.     Plaintiff, and others similarly situated, are entitled to minimum wage for all hours

 worked pursuant to the FLSA.
Case 1:19-cv-24546-CMA Document 1 Entered on FLSD Docket 11/02/2019 Page 4 of 4



         17.     By reason of the intentional, willful and unlawful acts of the Defendant in

 violation of the FLSA, Plaintiff, and others similarly situated, has suffered damages.

         WHEREFORE, Plaintiff, KATHERINE AGUILAR, on behalf of herself and all others

 similarly situated, demand judgment against the Defendant for all damages and relief under the

 FLSA, including liquidated damages, attorneys’ fees, costs and expenses, in addition to all other

 relief this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

         Plaintiff, KATHERINE AGUILAR, on behalf of herself and all others similarly situated,

 demand trial by jury of all issues triable as of right by a jury.



         Dated: November 2, 2019.                Respectfully submitted,

                                                 Law Offices of Levy & Levy, P.A.
                                                 1000 Sawgrass Corporate Parkway
                                                 Suite 588
                                                 Sunrise, Florida 33323
                                                 Telephone: (954) 763-5722
                                                 Facsimile: (954) 763-5723
                                                 Email: david@levylevylaw.com
                                                 Service Email: assistant@levylevylaw.com
                                                 Counsel for Plaintiff

                                                 /s/ David Cozad
                                                 DAVID M. COZAD, ESQ.
                                                 F.B.N.: 333920
